    Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 1 of 14 PageID #: 1



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE

CHARLES WILLIAMS,                                )
                                                 )
                        Plaintiff,               )       Case No. ______________
                                                 )
            v.                                   )
                                                 )       COMPLAINT FOR VIOLATIONS OF
GRUBHUB INC., KATRINA LAKE,                      )       THE FEDERAL SECURITIES LAWS
MATTHEW MALONEY, BRIAN                           )
MCANDREWS, DAVID FISHER, DAVID                   )
HABIGER, LINDA JOHNSON RICE,                     )       JURY TRIAL DEMANDED
LLOYD FRINK, GIRISH LAKSHMAN, and                )
KEITH RICHMAN,                                   )
                 Defendants.                     )
                                                 )

       Plaintiff Charles Williams (“Plaintiff”), by and through his undersigned counsel, for his

complaint against defendants, alleges upon personal knowledge with respect to himself, and upon

information and belief based upon, inter alia, the investigation of counsel as to all other allegations

herein, as follows:

                                     NATURE OF THE ACTION

       1.        Plaintiff brings this action against Grubhub Inc. (“Grubhub” or the “Company”) and

the members of Grubhub’s Board of Directors (the “Board” or the “Individual Defendants”) for their

violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”),

15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange Commission (“SEC”) Rule 14a-9, 17

C.F.R. § 240.14a-9. By the action, plaintiff seeks to enjoin the vote on a proposed transaction,

pursuant to which Just Eat Takeaway.com N.V. (“Just Eat Takeaway.com”) will acquire the Company

through its subsidiaries Checkers Merger Sub I, Inc. (“Merger Sub I”) and Checkers Merger Sub II,

Inc. (“Merger Sub II”) (the “Proposed Transaction”). 1


1 Non-party Just Eat Takeaway.com is the parent company of the Just Eat Takeaway.com Group
(“Just Eat Group”), a global online food delivery marketplace outside of China. Non-party Merger
      Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 2 of 14 PageID #: 2



         2.      On June 10, 2020, Grubhub and Just Eat Takeaway.com jointly announced their entry

into an Agreement and Plan of Merger dated June 10, 2020 (as amended on September 4, 2020, the

“Merger Agreement”). Under the terms of the Merger Agreement, Grubhub stockholders will receive

newly issued American depositary shares (“ADS”) of Just Eat Takeaway.com common stock,

representing 0.6710 shares of the share capital of Just Eat Takeaway.com, for each Grubhub common

share that they own (the “Merger Consideration”). 2

         3.      On May 12, 2021, Grubhub filed a Schedule 14A Definitive Proxy Statement (the

“Proxy Statement”) with the SEC.         The Proxy Statement, which recommends that Grubhub

stockholders vote in favor of the Proposed Transaction, omits or misrepresents material information

concerning, among other things: (a) the financial projections for Grubhub and Just Eat

Takeaway.com, as well as the data and inputs underlying the financial valuation analyses that support

the fairness opinion provided by the Company’s financial advisor, Evercore Group L.L.C.

(“Evercore”); and (b) potential conflicts of interest faced by the Company’s additional financial

advisor, Centerview Partners LLC (“Centerview”). The failure to adequately disclose such material

information violates Sections 14(a) and 20(a) of the Exchange Act as Grubhub stockholders need

such information in order to make a fully informed decision whether to vote in favor of the Proposed

Transaction.

         4.      Without additional information, the Proxy Statement is materially misleading in

violation of the federal securities laws. Thus, it is imperative that the material information omitted

from the Proxy Statement is disclosed to the Company’s stockholders prior to the forthcoming

stockholder vote so that they can properly exercise their corporate suffrage rights.


Sub I is a Delaware corporation and a wholly owned subsidiary of Just Eat Takeaway.com. Non-
party Merger Sub II is a Delaware corporation and a wholly owned subsidiary of Just Eat
Takeaway.com.
2   The Proposed Transaction is valued at approximately $7.3 billion.

                                                   2
    Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 3 of 14 PageID #: 3



        5.      For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin Defendants

from taking any steps to consummate the Proposed Transaction unless and until the material

information discussed below is disclosed to the Company’s stockholders or, in the event the Proposed

Transaction is consummated, to recover damages resulting from the defendants’ violations of the

Exchange Act.

                                   JURISDICTION AND VENUE

        6.      This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to Section

27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question jurisdiction).

        7.      This Court has jurisdiction over the defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

        8.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants are

found or are inhabitants or transact business in this District

                                            THE PARTIES

        9.      Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of

Grubhub.

        10.     Defendant Grubhub is a Delaware corporation, with its principal executive offices

located at 111 W. Washington Street, Suite 2100, Chicago, Illinois 60602. Grubhub’s shares trade

on the New York Stock Exchange under the ticker symbol “GRUB.”

        11.     Defendant Katrina Lake (“Lake”) has been a director of the Company since December

2015.

        12.     Defendant Matthew Maloney (“Maloney”) has been Chief Executive Officer (“CEO”)


                                                    3
Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 4 of 14 PageID #: 4
Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 5 of 14 PageID #: 5
Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 6 of 14 PageID #: 6
Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 7 of 14 PageID #: 7
Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 8 of 14 PageID #: 8
    Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 9 of 14 PageID #: 9



Material Omissions Concerning the Financial Projections for Grubhub and Just Eat
Takeaway.com and Evercore’s Financial Analyses

       24.     The Proxy Statement omits material information regarding the financial projections

for Grubhub and Just Eat Takeaway.com, including the Company’s unlevered free cash flows and the

underlying line items used to calculate those unlevered free cash flows. This omission comes

notwithstanding that “Evercore performed a discounted cash flow analysis of Grubhub to calculate

the estimated present value of the standalone unlevered, after-tax free cash flows that Grubhub was

forecasted to generate during Grubhub’s second, third and fourth quarter of fiscal year 2020 and fiscal

years 2021 through 2024[.]”

       25.     The Proxy Statement further fails to disclose Grubhub management’s preliminary

financial projections reviewed with the Board at its February 12, 2020 Board meeting. The Proxy

Statement also fails to provide a summary of the changes to the projections between February 12,

2020 and April 22, 2020, when the Board reviewed Grubhub management’s financial projections

prepared in connection with the Proposed Transaction.

       26.     The Proxy Statement also fails to disclose all line items underlying (a) the Company’s

levered free cash flows; and (b) the unlevered free cash flows for Just Eat Takeaway.com.

       27.     The Proxy Statement also omits material information regarding Evercore’s financial

analyses.

       28.     The Proxy Statement describes Evercore’s fairness opinion and the various valuation

analyses it performed in support of its opinion. However, the description of Evercore’s fairness

opinion and analyses fails to include key inputs and assumptions underlying these analyses. Without

this information, as described below, Grubhub’s public stockholders are unable to fully understand

these analyses and, thus, are unable to determine what weight, if any, to place on Evercore’s fairness

opinion in determining whether to vote in favor of the Proposed Transaction.

       29.     First, the Proxy Statement fails to disclose: (a) the unlevered, after-tax unlevered free

                                                   9
  Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 10 of 14 PageID #: 10



cash flows for Grubhub utilized in the analysis; (b) the estimated terminal year adjusted EBITDA; (c)

quantification of the terminal values for the Company; (d) quantification of the inputs and

assumptions underlying the discount rate range of 9.0% to 11.0%; (e) the tax savings of Grubhub

attributed to unused tax losses; (f) Grubhub’s net debt; and (g) Grubhub’s fully diluted outstanding

shares as used in Evercore’s Discounted Cash Flow Analysis of Grubhub.

       30.     With respect to Evercore’s Discounted Cash Flow Analysis of Just Eat Takeaway.com,

the Proxy Statement fails to disclose: (a) the estimated terminal year adjusted EBITDA; (b)

quantification of the terminal values for Just Eat Takeaway.com; (c) quantification of the inputs and

assumptions underlying the discount rate range of 9.0% to 11.0%; (d) the tax savings of Just Eat

Takeaway.com attributed to unused tax losses; (e) Just Eat Takeaway.com’s net debt; and (f) Just Eat

Takeaway.com’s fully diluted outstanding shares.

       31.     With respect to Evercore’s Equity Research Analyst Price Targets analyses for

Grubhub and Just Eat Takeaway.com, the Proxy Statement fails to disclose the price targets observed

and the sources thereof.

       32.     The omission of this material information renders the statements in the “Certain

Unaudited Prospective Financial Information Prepared by Grubhub” and “Opinion of Grubhub’s

Financial Advisor” sections of the Proxy Statement false and/or materially misleading in

contravention of the Exchange Act.

Material Omissions Concerning Centerview’s Potential Conflicts of Interest

       33.     The Proxy Statement is materially deficient because it fails to disclose material

information relating to Centerview’s potential conflicts of interest, including: (a) the compensation

Centerview has received or will receive in connection with its engagement; (b) how much of

Centerview’s compensation is contingent upon the consummation of the Proposed Transaction; (c)

the details of any past services Centerview has performed for any parties to the Merger Agreement or


                                                 10
  Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 11 of 14 PageID #: 11



their affiliates, including the timing and nature of such services as well as the amount of compensation

received by Centerview for providing such services; and (d) the scope of Centerview’s engagement.

       34.     Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration, selection,

and implementation of strategic alternatives.

       35.     The omission of this material information renders the statements in the “Background

of the Merger” section of the Proxy Statement false and/or materially misleading in contravention of

the Exchange Act.

       36.     The Individual Defendants were aware of their duty to disclose the above-referenced

omitted information and acted negligently (if not deliberately) in failing to include this information

in the Proxy Statement. Absent disclosure of the foregoing material information prior to the

stockholder vote on the Proposed Transaction, Plaintiff and the other stockholders of Grubhub will

be unable to make an informed voting decision in connection with the Proposed Transaction and are

thus threatened with irreparable harm warranting the injunctive relief sought herein.

                                       CLAIMS FOR RELIEF

                                                COUNT I

              Claims Against All Defendants for Violations of Section 14(a) of the
                   Exchange Act and Rule 14a-9 Promulgated Thereunder

       37.     Plaintiff repeats all previous allegations as if set forth in full.

       38.     During the relevant period, defendants disseminated the false and misleading Proxy

Statement specified above, which failed to disclose material facts necessary to make the statements,

in light of the circumstances under which they were made, not misleading in violation of Section

14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

       39.     By virtue of their positions within the Company, the defendants were aware of this

information and of their duty to disclose this information in the Proxy Statement. The Proxy

                                                    11
  Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 12 of 14 PageID #: 12



Statement was prepared, reviewed, and/or disseminated by the defendants. It misrepresented and/or

omitted material facts, including material information about the Company’s and Just Eat

Takeaway.com’s financial projections, the inputs and assumptions underlying Evercore’s financial

analyses, and potential conflicts of interest faced by Centerview. The defendants were at least

negligent in filing the Proxy Statement with these materially false and misleading statements.

       40.     The omissions and false and misleading statements in the Proxy Statement are material

in that a reasonable stockholder would consider them important in deciding how to vote on the

Proposed Transaction.

       41.     By reason of the foregoing, the defendants have violated Section 14(a) of the Exchange

Act and SEC Rule 14a-9(a) promulgated thereunder.

       42.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm, rendering money damages inadequate. Therefore, injunctive relief

is appropriate to ensure defendants’ misconduct is corrected.

                                               COUNT II

                    Claims Against the Individual Defendants for Violations
                             of Section 20(a) of the Exchange Act

       43.     Plaintiff repeats all previous allegations as if set forth in full.

       44.     The Individual Defendants acted as controlling persons of Grubhub within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Grubhub, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Proxy Statement filed

with the SEC, they had the power to influence and control and did influence and control, directly or

indirectly, the decision-making of the Company, including the content and dissemination of the

various statements which Plaintiff contends are false and misleading.

       45.     Each of the Individual Defendants was provided with or had unlimited access to copies

                                                    12
  Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 13 of 14 PageID #: 13



of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the statements

or cause the statements to be corrected.

       46.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations as

alleged herein, and exercised the same. The Proxy Statement at issue contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were, thus, directly involved in the making of the Proxy Statement.

       47.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

Transaction. The Proxy Statement purports to describe the various issues and information that they

reviewed and considered—descriptions the Company directors had input into.

       48.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a) of

the Exchange Act.

       49.     As set forth above, the Individual Defendants had the ability to exercise control over

and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-9,

promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a

direct and proximate result of defendants’ conduct, Grubhub stockholders will be irreparably harmed.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief, including

injunctive relief, in his favor on behalf of Grubhub, and against defendants, as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in concert


                                                   13
  Case 1:21-cv-00729-RGA Document 1 Filed 05/24/21 Page 14 of 14 PageID #: 14



with them from proceeding with, consummating, or closing the Proposed Transaction and any vote

on the Proposed Transaction, unless and until defendants disclose and disseminate the material

information identified above to Grubhub stockholders;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff;

       C.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,

as well as SEC Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                            JURY DEMAND

       Plaintiff demands a trial by jury.

 Dated: May 24, 2021                                   LONG LAW, LLC


                                                  By /s/ Brian D. Long
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                                                  14
